                    Cristian L Peirano
           Case 8:19-cv-02435-DOC-JDE  Document 10 Filed 12/24/19 Page 1 of 4 Page ID #:34
                      Peirano and Associates Inc.
                         1616 E4th St Ste 210
                      Santa Ana, CA 92701-5145
                          Tel: 714-881-5985
                      Email: ecf@peiranolaw.com
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
 Reuben Nathan, et al.,
                                                                              CASE NUMBER
                                                                                                   8: l 9-cv-02435-DOC-JDE
                                                          Plaintiff(s),
                 V.
 Los Angeles Times Communications, LLC,                                         APPLICATION OF NON-RESIDENT ATTORNEY
                                                                                      TO APPEAR IN A SPECIFIC CASE
                                                        Defendant(s),                                PROHACVICE
INSTRUCTIONS FOR APPLICANTS
( 1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
     Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's CM/ECF System ("Motions and Related Filings
    => Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hae Vice (G-64)"), attach a Proposed Order (using
    Form G-64 ORDER, available from the Court's website), and pay the required $400 fee online at the time offiling (using a credit card).
    The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time offiling will be grounds for
    denying the Application. Out-of state federal government attorneys are not required to pay the $400 fee. (Certain attorneys for the
    United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the G-64 ORDER in
    Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
 Smith, TaylorT.
Applicant's Name (Last Name, First Name & Nliddle Initial)                                           check here iffederal government attorney D
 Woodrow & Peluso, LLC
Firm/Agency Name
 3900 E. Mexico Ave.                                                      720-907-7628                           303-927-0809
 Suite 300                                                                Telephone Number                       Fax Number
Street Address
 Denver, Colorado 80210                                                                        tsmith@woodrowpeluso.com
City, State, Zip Code                                                                                  E-mail Address

I have been retained to represent the following parties:
 Reuben Nathan                                                            I!] Plaintiff(s)   D Defendant(s) D Other:    ---------
                                                                          D   Plaintiff(s)   D Defendant(s) D Other:
                                                                                                                        ---------
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

             Name of Court                                Date of Admission             Active Member in Good Standing? (if not, please explain)
 Supreme Court of Colorado                                  10/30/2017                 Yes
 U.S. District for the District of Colorado                  11/20/2017                Yes
 U.S. District for the E.D. of Michigan                      11/28/2017                Yes
List all cases in which
             Case       the applicant has applied to this Court
                     8:19-cv-02435-DOC-JDE                      for pro hac
                                                          Document       10viceFiled
                                                                                status12/24/19
                                                                                      in the previousPage
                                                                                                      three years
                                                                                                            2 of (continue
                                                                                                                  4 Page   in Section
                                                                                                                              ID #:35 IV if
needed):
     Case Number                                  Title of Action                                Date of AJ!,(2lication     Granted I Denied?
 19-cv-01257                      Abbink v. Experian Information Solutions, Inc.                 6/21/2019                 Granted
 l 9-cv-02874                                   Wigod v. CallFire, Inc.                          5/30/2019                 Granted
 19-cv-00098                             Benitez v. Powerline Funding LLC                        1/21/2019                 Granted
 18-cv-01753                                     Herrera v. Soothe, Inc.                         10/1/2018                 Granted
 18-cv-03893                              Edwardo Munoz v. 7-Eleven, Inc.                        5/15/2018                 Granted

If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Has the applicant previously registered as a CM/ECF user in the Central District of California?            [El Yes        D   No
If yes, was the applicant's CM/ECF User account associated with the e-mail address provided above?         [El Yes        D   No



                                                                                               Previous E-mail Used (if applicable)

Attorneys must be registered for the Court's Case lvfanagement!Electronic Case Filing ("CM/ECF'') System to be admitted to practice pro hac
vice in this Court. Submission of this Application will constitute your registration (or re-registration) as a CM!ECF User. If the Court signs an
Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you identified above
will be associated with your case.



          SECTION II- CERTIFICATION

          I declare under penalty of perjury that:

          (1) All of the above information is true and correct.
          (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in substantial business,
               professional, or other activities in the State of California.
          (3) I am not currently suspended from and have never been disbarred from practice in any court.
          (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Procedure,
               and the Federal Rules of Evidence.
          (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar of this Court and
               maintains an office in the Central District of California for the practice oflaw, as local counsel pursuant to Local
               Rule 83-2.1.3.4.

                                                                       Taylor T. Smith
         Case 8:19-cv-02435-DOC-JDE Document 10 Filed 12/24/19 Page 3 of 4 Page ID #:36




Street Address
                                                                 E-mail Address




Admissions
- U.S. Di strict for the N .D. of Illinois - 2/22/201   active and


Pro Hae Vice
- 8-cv-03886 - Imamura v. Eaton
Case 8:19-cv-02435-DOC-JDE Document 10 Filed 12/24/19 Page 4 of 4 Page ID #:37




           ST ATE OF COLORADO, ss:


                 I,   Cheryl Stevens                 Clerk of the Supreme Court of the Stale of

           Colorado, do hereby certify that


                                 Taylor True Smith
           has been duly licensed and admitted to practice as an


                  cATTORNEY AND [oUNSELOR AT                                          o(Aw
           within this State; and that his/ her name appears upon the Roll of Attorneys

           and Counselors at Law in my office of date the _ _ _ _ _ _Jilt
                                                                     _ _ _ __

           day of_ _O_ct_o_b_e_r_ _ _ _ A. D. _ _2_01_7and that at the date hereof
           the said _ _ _ _Ti_,ay"-l_o_r_Ti_1_·u_e_S_m_it_lt_____________
           is in good standing at this Bar.

                                  IN WITNESS WHEREOF, I have hereunto subscribed my name and
                                  affixed the Seal of said Supreme Court, at Denver, in said State, this

                                          25th
                                  _ _ _ _ _ day of-
                                                                        November                A.D. _ _
                                                                                                             2019

                                                                        Cheryl Stevens

                                      By__,,_____,,.~~-         ~~~~~                   -Ckrk

                                              ~                                               Deputy Clerk
